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                         UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

DAVID LORENZO CRUZ,

                     Plaintiff,

v.                                                  Case No: 6:19-cv-1159-Orl-40TBS

KAI JIE INC, and FA RONG ZHANG,

                     Defendants.


                                  RELATED CASE ORDER
       It is hereby ORDERED that, no later than fourteen days from the date of this Order,

counsel and any pro se party shall comply with Local Rule 1.04(d), and shall file and serve

a certification as to whether the instant action should be designated as a similar or

successive case pursuant to Local Rule 1.04(a) or (b). The parties shall utilize the

attached form NOTICE OF PENDENCY OF OTHER ACTIONS.


June 27, 2019
                                                            PAUL G. BYRON
                                                              Paul G. Byron
                                                       United States District Judge


Attachments: Notice of Pendency of Other Actions [mandatory form]
             Magistrate Judge Consent /Letter to Counsel
             Magistrate Judge Consent Form /Entire Case
             Magistrate Judge Consent /Specified Motions

Copies to:    All Counsel of Record
              All Pro Se Parties
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                        UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

DAVID LORENZO CRUZ,

                       Plaintiff,

v.                                                     Case No: 6:19-cv-1159-Orl-40TBS

KAI JIE INC, and FA RONG ZHANG,

                       Defendants.


                       NOTICE OF PENDENCY OF OTHER ACTIONS

         In accordance with Local Rule 1.04(d), I certify that the instant action:

_____      IS                 related to pending or closed civil or criminal case(s) previously
                       filed in this Court, or any other Federal or State court, or
                       administrative agency as indicated below:
                       _____________________________________________________
                       _____________________________________________________
                       _____________________________________________________
                       _____________________________________________________

_____ IS NOT           related to any pending or closed civil or criminal case filed with this
                       Court, or any other Federal or State court, or administrative agency.

      I further certify that I will serve a copy of this NOTICE OF PENDENCY OF OTHER
ACTIONS upon each party no later than fourteen days after appearance of the party.


Dated:



_____________________________
Counsel of Record or Pro Se Party
     [Address and Telephone]
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                                           UNITED STATES DISTRICT COURT
                                            MIDDLE DISTRICT OF FLORIDA
                                                 ORLANDO DIVISION

 DAVID LORENZO CRUZ,

                           Plaintiff,

 v.                                                                Case No: 6:19-cv-1159-Orl-40TBS

 KAI JIE INC, and FA RONG ZHANG,

                           Defendants.


           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

          Notice of a magistrate judge's availability. A United States magistrate judge of this court is available to conduct all
 proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may then
 be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may exercise
 this authority only if all parties voluntarily consent.

         You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
 substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise be
 involved with your case,

         Consent to a magistrate judge's authority. The following parties consent to have a United States magistrate judge
 conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

      Parties’ printed names                          Signatures of parties or attorneys                                Dates




                                                        REFERENCE ORDER

          IT IS ORDERED that this case be referred to a UNITED STATES MAGISTRATE JUDGE for all further proceedings and
 order the entry of a final judgment in accordance with 28 U.S.C. 636(c), Fed. R. Civ. P. 73..

___________________                                                     __________________________________________
       Date                                                                           United States District Judge
 NOTE:   RETURN THIS FORM TO THE CLERK OF THE COURT ONLY IF YOU ARE CONSENTING TO THE EXERCISE OF JURISDICTION BY A UNITED
         STATES MAGISTRATE JUDGE. DO NOT RETURN THIS FORM TO A JUDGE.
AO 85 (Rev.Case    6:19-cv-01159-PGB-TBS
            01/09) Notice, Consent and Reference of a Civil Document        4 Filed
                                                            Action to a Magistrate Judge 06/27/19   Page 5 of 5 PageID 24
                                                 UNITED STATES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       ORLANDO DIVISION

DAVID LORENZO CRUZ,

                            Plaintiff,

v.                                                                     Case No: 6:19-cv-1159-Orl-40TBS

KAI JIE INC, and FA RONG ZHANG,

                            Defendants.


     NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge's availability. A United States magistrate judge of this court is available to
conduct all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise
this authority only if all parties voluntarily consent.

       You may consent to have motions referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed to
any judge who may otherwise be involved with your case.

         Consent to a magistrate judge's consideration of a dispositive motion. The following parties consent to
have a United States magistrate judge conduct any and all proceedings and enter a final order as to each motion
identified below. (identify each motion by document number and title).

       MOTION(S)                    _____________________________________________

                                    _____________________________________________

            Signatures                                           Party Represented                                    Date




                                                          REFERENCE ORDER

      IT IS ORDERED:         The motions are referred to the United States magistrate judge to conduct all
proceedings and enter a final order on the motions identified above in accordance with 28 U.S.C. ' 636(c).


___________________                                                       __________________________________________
     Date                                                                                United States District Judge

NOTE: RETURN THIS FORM TO THE CLERK OF COURT ONLY IF YOU ARE CONSENTING TO THE EXERCISE OF JURISDICTION
      BY A UNITED STATES MAGISTRATE JUDGE. DO NOT RETURN THIS FORM TO A JUDGE.
